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                 EXHIBIT 12
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                                                                        Page 1
 1                    UNITED STATES DISTRICT COURT
 2                 NORTHERN DISTRICT OF CALIFORNIA
 3                           SAN JOSE DIVISION
 4
 5   APPLE INC., a California                  )
     corporation,                              )
 6                                             )
               Plaintiff,                      )
 7                                             )
               vs.                             ) Case No. 12-cv-00630-LHK
 8                                             )
                                               )
 9   SAMSUNG ELECTRONICS CO., a                )
     Korean corporation, SAMSUNG               )
10   ELECTRONICS AMERICA, INC.,                )
     a New York corporation; and               )
11   SAMSUNG TELECOMMUNICATIONS                )
     AMERICA, LLC, a Delaware                  )
12   limited liability company,                )
                                               )
13             Defendants.                     )
     ___________________________               )
14
15
16                       CONFIDENTIAL TRANSCRIPT
17            VIDEOTAPED DEPOSITION OF BREWSTER KAHLE
18
19
20                     San Francisco, California
21                       Thursday, July 25, 2013
22
23   Reported by:
24   Hanna Kim, CLR, CSR No. 13083
25   Job No. 63707


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                                                                                  Page 79
         1              THE WITNESS:        Z39.50 did not assume how the
         2   bytes encoded in it were either encoded nor
         3   transmitted.     So it could be implemented in many
         4   different ways, in many different networked local
11:39    5   environments.
         6   BY MR. BUROKER:
         7        Q.    The -- so then one WAIS client configured a
         8   certain way could send a Z39.50 package of information,
         9   and the server may not be able to interpret it; is that
11:40   10   correct?
        11              MR. WARREN:       Objection.           Misstates the
        12   witness's prior testimony.
        13              THE WITNESS:        There can be version skew
        14   between WAIS clients and WAIS servers in such a way
11:40   15   that it would be incompatible.                 It would have to be
        16   upgraded.
        17   BY MR. BUROKER:
        18        Q.    Was there a way to communicate Z39.50 packages
        19   over a dial-up mechanism back in the early '90s?
11:40   20        A.    Anything that would communicate digital
        21   information could communicate Z39.50 packets.                  Dial-up
        22   could be used in many different ways to build different
        23   layers, but, yes, it can be used to -- even on a fairly
        24   raw basis used dial-up technology.
11:41   25        Q.    What do you mean, "on a fairly raw basis"?


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                                                                                            Page 80
         1        A.   There was a networking stack that has a set of
         2   layers, and some of these layers handle things like
         3   retransmission or error -- error handling, and these
         4   would be useful in the use of, say, Z39.50.                        Otherwise,
11:41    5   we would have to go and implement something that would
         6   handle retransmission.
         7        Q.   Would you agree that a Z39.50 package that was
         8   sent via dial-up might not be transmitted over the,
         9   quote, "Internet"?
11:42   10             MR. WARREN:        Objection.           Vague.       Incomplete
        11   hypothetical.
        12             THE WITNESS:         Wow.       Okay.      I wrote the article
        13   on -- in the Encyclopedia Britannica on what is the
        14   Internet.
11:42   15             Yes, there are mechanisms of communicating
        16   digital data that does not involve the Internet.                         And
        17   could Z39.50 packets be transmitted?                       Yes.   Over
        18   other -- over other technologies, yes.
        19   BY MR. BUROKER:
11:42   20        Q.   Earlier you mentioned something about the
        21   Internet version of WAIS.
        22             What did you mean by that?
        23             MR. WARREN:        Objection.           Vague.
        24             Go ahead.
11:43   25             THE WITNESS:         The -- in April of 1991, we made


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         1   an open source -- I guess that word didn't exist yet.
         2   We made a bundle of software available for public
         3   distribution.     And it was distributed over the
         4   Internet, and it was particularly crafted for users of
11:43    5   Internet systems -- Internet-connected systems.
         6   BY MR. BUROKER:
         7        Q.   And how was it particularly crafted for
         8   Internet-connected systems?
         9        A.   The set of software that was distributed in
11:43   10   April of 1991 had references to a directory of servers
        11   that could be add- -- addressed using an IP address as
        12   well as clients and server technology that were built
        13   to use UNIX-based TCP/IP stacks as well as the Apple
        14   Macintosh client which was used -- using Mac TCP, which
11:44   15   existed by then.
        16        Q.   So in that environment, the client system
        17   could communicate WAIS requests in a -- a version of
        18   Z39.50 using an IP address to go to the WAIS server; is
        19   that correct?
11:44   20        A.   Z39.50 would be a part of how the client would
        21   interact with the server.               There are other components
        22   to the protocol that were necessary to be understood by
        23   both sides.    Z39.50 was a component of the protocol
        24   system for communicating between many clients and many
11:45   25   servers, though there was still a -- a mechanism for


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         1   clients to talk directly to their indices that are on
         2   their own hard drives.
         3        Q.   So just I'm clear on this Internet-based
         4   version, the request would be sent from the client
11:45    5   directly to the server using the IP address that had
         6   looked up in the directory server; is that correct?
         7             MR. WARREN:        Objection.           Vague.   Incomplete
         8   hypothetical.
         9             THE WITNESS:         Clients could communicate with
11:45   10   data sources either locally on their own hard drivers
        11   or by communicating by opening sockets to target
        12   WAIS-compatible protocol recipients, whether they're on
        13   full-on servers or editors.               They could be something
        14   that would receive that protocol.                   Does not -- and the
11:46   15   going -- using Z39.50 and opening a socket does not
        16   mean that it goes necessarily off the computer.
        17   BY MR. BUROKER:
        18        Q.   But if it was going to a remote server, how
        19   would it get from the client server to the remote
11:46   20   server?   If the packet from the client was intended for
        21   a remote server that had an IP address, what's your
        22   understanding of how it got from point A to point B?
        23        A.   Well, by the time it -- in the Internet
        24   release in April of 1991, it would open a TCP/IP
11:47   25   connection from the client.               And -- and you asked if it


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         1             What happens to that -- those -- that
         2   information as it moves -- moves along, actually, it
         3   can go through a number of gateways and technologies
         4   and translations.       But the WAIS station software that
11:49    5   we publicly distributed, that was its -- from its
         6   perspective, its primary mechanism of communicating
         7   that -- that I recall.
         8        Q.   So when you say it's Internet-based, is that
         9   because it uses TCP/IP as a vehicle for delivery?
11:50   10             MR. WARREN:        Objection.           Vague.
        11             THE WITNESS:         That set of releases was called
        12   Internet-based -- or I use the term "Internet-based" at
        13   this -- at this stage because that was the set of users
        14   that we were attempting to get to use the WAIS system.
11:50   15   BY MR. BUROKER:
        16        Q.   Right.
        17             But what -- what about those users made them
        18   Internet users versus the previous versions?
        19        A.   The Internet release was announced on an
11:50   20   Internet mailing list and was made available using FTP,
        21   which is a more primitive protocol.                    So that release,
        22   that bundle of software, was only made available -- no.
        23   Only made available -- it was primary -- the -- the
        24   e-mail that set -- set out how you get it is you go to
11:51   25   this FTP server.       So it was -- it was more limited than


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         1   what we were doing in other circumstances, which was
         2   having the WAIS software used in other environments.
         3        Q.    I guess what I'm getting at is, why did you
         4   call it an Internet release?                Is that because that's
11:51    5   the first time that the client was able to communicate
         6   via TCP/IP to the server?
         7        A.    Oh, no.
         8        Q.    So what made it an Internet release versus the
         9   not -- earlier version?
11:51   10        A.    It was the April of 2 -- 1999 release was --
        11        Q.    I think you said '99.
        12        A.    Excuse me.       1991 -- thank you -- release was
        13   sort of the first publicly available, downloadable,
        14   free, complete software release that was made to -- to
11:52   15   anybody.
        16        Q.    Okay.    In the document we've still got open --
        17        A.    Yeah.
        18        Q.    -- the second paragraph on page 3 says, "The
        19   client is the user interface.                The server does the
11:52   20   indexing and retrieval of documents, and the protocol
        21   is used to transmit the queries and responses."
        22              Is that fair?
        23        A.    That's --
        24              MR. WARREN:       Objection.           Vague.
11:52   25              Sorry.    Go ahead.


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         1             THE WITNESS:          That's a simplification, as
         2   we've discussed.        But, you know, given the document
         3   that this was looking to try to approach, it was a
         4   simplification we thought would be useful.
11:52    5   BY MR. BUROKER:
         6        Q.   And then the next sentence says, "The client
         7   and server are isolated from each other through the
         8   protocol."
         9             Is that accurate?
11:52   10             MR. WARREN:         Objection.           Asked and answered.
        11             MR. BUROKER:          I didn't ask about this
        12   question -- about this sentence.
        13             THE WITNESS:          Pardon?
        14   BY MR. BUROKER:
11:52   15        Q.   I didn't ask about this sentence.
        16             MR. WARREN:         He didn't like my objection.           You
        17   can ignore that.
        18             MR. BUROKER:          Thank you.
        19             MR. WARREN:         You can ignore everything.
11:52   20             THE WITNESS:          Can you repeat the question?
        21   BY MR. BUROKER:
        22        Q.   It says, "The client and server are isolated
        23   from each other through the protocol."
        24             Is that accurate?
11:53   25        A.   That's a drastic simplification and does not


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